) Docket 08/27/2010- Page-t-of 14...

Case 0:09-cv-61405-WJZ Deeument70-1 Entered on FLSI ;
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

FORT LAUDERDALE DIVISION |

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THE SET ENTERPRISES, INC.
and QREG JARMON,
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Plaintiffs, .
Vv. CASE NO.: 01-7896-CIV-HIGHSMITH
Magistrate Judge!Garber

CITY OF HALLANDALE BEACH, a
political subdivision of the State of Florida,

Defendant,

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|
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|
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RODNEY KIMBROUGH,
CASE NO.! 02-60201-CIV-H HpYSMITH

Magistrate Judga Garber
v.

[
CITY OF HALLANDALE BEACH, a
Political subdivision of the State of Florida, |
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Defendant.
/

INTERIM LITIGATION AGREEMENT
THIS INTERIM LITIGATION AGREEMENT (“Agreement”) is made ti 28th day
of March, 2002, by and between THE SET ENTERPRISES, INC., (“THE seh GREG
JARMON, (“JARMON"); and RODNEY KIMBROUGH (“KIMBROUGH"), 1 heehee

referred collectively referred to as (“Plaintiffs”); THE CITY OF HALLANDALE BEACH,

(*City” or Defendant’) collectively hereinafter referred to as “The Parties".

:
WITNESSETH:
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WHEREAS, the parties are desirious of fully and complately | resolving,

compromising and settling all of their respective claims, both pending and jotherwise
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Including the claims set forth in the consolidated actions, now pending before the United

States Federal District Court for the Southern District, (“Actions’)', against al parties

’ hereto ag set forth more fully within, and given due consideration of the costs, ckpenses
and delays that could be Incurred in proceading with the said litigation; and |

WHEREAS, the parties agree and intend that this Agreamant shall nul to the

benefit and bind their aftlliates, divisions, predecessors and successors In buginess or

interest and assigns and all persons claiming through such businesses, corporations

their affiliates and subsidlarles, and persons, and each of them, as well as al officers,
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directors, agents, employees and representatives, past or present of each said business

and corporation, their heirs, exacutors, successors and assignge, each lof them

individually and in any capacity whatsoever,

WHEREAS, The Set, having applied for and been issued, by the Oia private

club license to operate its private club; and The Set, in reliance upon the esa of the

sald private club Iicense, invested approximately $i,000,000.00 dollars j in rehovations

into said club, in its good faith belief that it could operate a private club wherbin nudlty
|

could be displayed together with the sale of alcohol and that the City's ofdinances

prohibiting such actlvity did not apply to Its private club status because it was not an

“adult entertainment establishment’ as defined by the said ordinances,

NOW THEREFORE, in consideration of the full and complete, good faith

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performance of this Agreement, and anticipated final resolution of all outstanding
claims, potential claims and allegations, actually brought er which could fave been

brought, the following representations, warranties and mutual covenatis herein
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‘The Set Enterprises, Inc., and Greg Jarmon v, City of Hallandale Beach. C ch
ch, Case No. 01-7896
Kimbrough v. City of Hallandale Beach, Cage No. ()2- 60201 Civ. Highsmith ? CN Highsmith

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contained and, for other good and valuable consideration, the receipt and suffictency of

which are hereby acknowledged, the undersigned parties specifically agree and

stipulate as follows:

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*

That the foregoing recitals are true and correct and are incofporated

herein by reference.

That the effectiveness of this Agreement shall be conditioned arid

 

 

 

 

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contingent upon the Parties’ strict compliance with all of the following

terms and provisions, and the completion of all conditigns and

contingencies set forth herein.

TERMS AND CONDITIONS OF INTERIM LITIGATION AGREEMENT;

That the parties hereto recognize that they have an implied obligation of

good faith in the performance of their respective duties and obligations

under this Agreement, and shail cooperate with each other an

gd perform

the sald obligations with the utmost good faith. The City agrees that it

shall take no act or cause any act to be taken, which would
indirectly cause to subvert the letter and spirit of this Agreement.
That the parties shall submit a joint Motion for the entry of

Abating the subject Actions for a period of six (6) months

directly or

 

 

 

an Order

from the

effective date of this Agreernent. That assuming that there are no

 

 

substantlal Zoning or criminal problems at THE SET, at the end of the said

six (6) month period, THE SET shall be issued a license to ope rate as a

private club, until 4:00 a.m., where alcohol is sold, together with the

; ; .
display of nudity. Upon issuance of said license the said Actlors shall be

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Case 0:09-cv-61405-WJZ Document 70-1 Entered on FLSD Docket 08/27/2010 Page 40f14 _

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dismissed, without prejudice, each party bearing their own attorneys fees

and costs.

That THE SET, shall be licensed, on an interim, probationary basis, fora

period of six (6) months, to operate as a private club, wherein

I will be

allowed to sell alcohol together with the display of nudity to its members

until 4:00 a.m.

THE SET shail be subject to all existing State Statutes and ° City

Ordinances, except 7-81 of the Code of Ordinances prohibiting qlcohol in

Adult Entertainment establishments and Section 19-2, prohlbitin
Furthermore, the City acknowledges that THE SET ‘s location
violation of Section 32-265 zoning district and distance limitations
The City agrees that based upon dacisions of the Stafe Attorney,
shall not arrest employees of THE SET under Florida Statute §4
unless minors are admitted into the THE SET or it displays

offensive exterior signage.

D nudity.

is not in

, the City

47.0134,

or erects

THE SET shall employ, an (one) off-duty Hallandale Beach Polite Officer

on @ach day that It is open, as part of its security force and shall pay the

City for sald officar’s services, as any other business in the
retains off-duty officers for private duty details.

THE SET shall provide valet parking during its hours of operation
THE SET shall be licensed to operate until 4:00 a.m., seven (7

week,

City that

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days per

 

 

 
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THE SET shall operate exclusively as a private club and shall reg
membership to no one under the age of twenty-one (21).

THE SET shall, within thirty (80) days of the Effective Date

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strict its

of this

Agreement, remove the pole sign on the premises and comply with the

City’s existing sign ordinance. THE SET agrees to restrictive sighage on

the exterlor of the premises and specifically no sexually explicit messages

or images may be displayed on said signage.

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THE SET shall pay the required licensing fees as may be necess

to Operate pursuant to its private club license.

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ry for it

THE SET agrees to pay a monthly regulatory fee of One Thousand

($1,000.00) Dollars per month for the first six (6) months, which said fee

shall be due on the 30" day after THE SET re-opens and on the!30" day

each month thereafter. There shall be a five (5) business dé

y grace

period in the payment of the said monthly fee. THE SET agrees {hat after

the first six (8) months the said fee shall be increased to One Tihousand

Five Hundred ($1,500.00) Dollars per month and upon the one
anniversary of its opening, to increase the said monthly regulatory

cap of Two Thousand ($2,000.00) Dollars per month.

(1) year

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That upon the expiration of the six (6) month probationary peniod, THE

 

 

SET shall automatically, without any further applications to the

City, be

 

issued a private club license, to sell alcohol together with the ki

splay of

nudity to its members, until 4:00 a.m., seven (7) days per week. THE

SET’s license shall not be subject to a discretionary renewal on

a yearly

 

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basis, but may only be revoked in accordance with the City’s ordinances, ,

rules, regulations and administrative procedures.
That the said license issued to THE SET shall be fully trareteratfl and
assignable, subject to the City Gommission’s approval, which gaid
approval shall not be unreasonably withheld. However, Joe Rodriguez
agrees not to sell or relinquish control of said business for a periodiof nine
(9) months following the execution of this Agreement.
Upon execution of this agreernent, THE SET shall execute a General
Release in favor of the City, for any and ail claims up through and
including the effective date of this Interim Litigation Agreement.
Upon execution of General releases by Koons, Oliver, Lawrerjce and
Caprio, The City shall forthwith file a nolle prosse in the now pending
criminal actions against three dancers and the pending against Robert
Caprio in the following cases, State of Florida v. Lori A. Koons, Case
Number: 02-000191MO40A; State of Florida v. Renee A. Lawrende, Case
Number: 02-000192MO40A; State of Florida v. Lisa Oliver, Case Number:
02-000193MO40A; State of Florida v. Robert Caprio, Case Number:
01020787 CF10A; State of Florida v. Robert Caprio, Case Number:
01029131MO10A. Additionally, the City shall agree to cooperate with and

consent to the applications of Lisa Oliver, Renee A, Lawrence, Lorl A.

Koons and Robert Caprio, to have the records of their respective arrests

 

gither expunged and/or sealad, whichever may be applicable to any

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Defendant. In exchange for the voluntary nolle prosse of the sald criminal

 
 

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actions, Oliver, Lawrence, Koons and Caprio, shall execute

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Page 7
General

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Releases in favor of the City, releasing the City from any and all;claims

arising out of their respective arrests.

THE SET agrees to defend, with mutually acceptable counsel, as outside

counsel to the City of Hallandale Beach, and pay such reasonable

attorneys fees and costs for said counsel, in the event that sorpe third

party or some other entity attempts to challenge the City's adult

 

entertainment ordinances as they exist and/or as they are amended

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and/or in the event that a said third party attempted to challenge this

Interim Litigation Agreement and/or the license anticipated to be i

THE SET.

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Esued to

The parties stipulate and agree that the Court shall enter an Order

ratifying and confirming this Interim Litigation Agreement, ordéring the

parties to abide by its terms and specifically retaining juris¢

interpret and/or enforce this Agreement.

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This Agreement shall supersede all prior Agreements and understandings

between the parties, and no waiver or modification of this Agreen
any covenant, condition or limitation herein shall be valid unless
and duly executed by the parties charged therewith.

Conditioned upon full performance of the Parties’ obligations

ent, or of

in writing

set forth

 

herein, and for other good and valuable consideration set forth above, and

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the full and complete compliance with the terms of this Agreenjent, each

of the Parties hereby irrevocably, unconditionally, and spect

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and forever discharges each of the other Parties, including their past and
current officers, directors, attorneys, agents, servants, representatives,
employees, affillates, partners, predecessors, successors in iinterest,

assigns and all other persons acting on their behalf, of and from and

 

promises not to sue or bring any claim of further action of any; kind, or
cause any person, firm, entity or authority to bring any action against the

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others or anyone of them regarding any and all complaints, charges,
claims, causes of action, liabilities, interests, financial ot propery losses,
accounts, llens, obligations, promises, agreements, contfacts of
insurance, debts, expenses, costs, demands, damages (including
compensatory, statutory, liquidated or punitive), actions and dauses of
action or claims (collectively “Claims”) of any nature whatsoever, ‘known or

unknown, suspected or unsuspected, liquidated or contingent] legal or

equitable, including all related or ancillary clalms for attorneys’ fees or

 

other costs incurred in connection therewith, fromm the beginning of the
world to the Effective Date of this Agreernent, that each party had, has or
may have against any of the others arising out of any matter or thing,
including but not limited to all claims that could have been raiged in the
Actions, including potential claims or causes of action, and all claims for
contribution, indemnity and subrogation, except for a breach by;any Party

of any of the provisions of this Agreement.

 

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23.‘ |t is understood and agreed that this Agreement does not constityite and
shall not be construed to be an admission of liabillty on the part) of any
party to this Agreement.
24. The parties to this Agreement represent, which representation is a
material, bargained for term, that each of them has possession| control
and full title and authority to settle, resolve, release, and extinguish the
Claims herein; that no other person, entity or association has a Buperior
right or title to such Claime; and that none of them. heretofpre has
assigned or transferred, or purported to assign or transfer, to any person
or entity, any Claim, or any portion or interest thereof, that any one of
them had, has or may at any time hereafter have or acquire against
another party or parties hereto, nor have the parties taken an asgignment
or transfer of any Claim which has not been disclosed and would not be
released herein.
25, Thea partles to this Agreement hereby waive any and all claims for

attorneys’ fees and costs which each may have against the other

GENERAL TERMS AND CONDITIONS

 

26. This Agreement contains the entire Agreement and understanding
between the parties hereto concerning the matters raised herdin. This

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Agreement supersedes and replaces all prior negotiations, proposed

agreements and agreements, oral and written, conceming the matters

raised herein.

 

 
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29.

This Agreement shall be interpreted, enforced, and governed by the laws

of the State of Florida. The parties agree that this Agreement shall be

construed as a whole according to its fair meaning and all inferences and

any ambiguities in this Agreement shall be drawn in favor of fi

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release of alll liability between and among the parties, thelr successprs and

assignees, It is the parties’ intent that there shall be no further litigation or

adversarial proceedings between or among them concem

ing the

trangactions or occurrences which form the basis of the Actions. This

Agreement shall be construed as having been drafted by all of the parties

hereto and no inference shall be drawn against any party ag having

drafted the Agreement.

The parties acknowledge that time is of the essence as pertaining to the

performance of this Agreement. The parties agree that this Ag

will be binding upon and inure to the benefit of, their heirs, succes:

reement

Fors and

assigns and the officers, diractors, shareholders, principals, employees,

agents, servants, affiliates and any other related or affiliated
person now existing or living or created or born hereafter.

In the preparation and negotiation of this Agreement, Plaintiffs hg
represented by Ira Marcus, P.A., 888 East Las Olas Blvd., Suite 1
Lauderdale, FL 33301. The Defendants have been represented

A. Goldstein, Esquire; 400 South Federal Highway, Hallandale

entity or

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V10, Fort

by Mark

, Florida

33009. The parties warrant that they have read the termp of this

Agreement, have conferred with counsel of their own choic@ for the

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purpose of negotiating and explaining the Agreement to them have
received and considered the advice of that counsel, are fully awarg of the
Agreement's contents, and fully understand The Agreement's legal effect

and significance. Each party further warrants that the terms of this

 

Agreement are falr, just adequate and reasonable and that cach freely
and fully accepts the provisions, terms and conditions of this Aareefnent
30. The signatories represent and warrant that they have the autho and
approval to execute thls Agreement on behalf of any party they are
Identifled as representing below. The undersigned represehtatives
represent that they are agents of their respective parties duly authdrized to
execute contracts generally and this Agreement in particular.
31, The Parties, their successors and assigns agree, that they shall not bring
any action challenging the legality or validity of this agreement or any of the
tarms contained herein.
32. This Agreement may be executed in multiple counterparts that when taken
together shall form one integrated Agreement. The parties agree to
cooperate fully and execute any and all documents and to |take all
additional actions that are reasonably necessary to give full fgrce and
effect to this Agreement, including but not limited to, executing stipulations
for the dismissal of the litigation among the parties hereto as provided in
the Agreement.
33. Any notice required by this Agreement shall be delivered to the parties
care of their counsel by certified mail, return receipt requested. Upon
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notice by certified mail, retum receipt requested, any party jto this
Agreement, or their current counsel, may, after the Effective Datd, direct
that any notice required under this Agreement be sent to the party directly
or to another representative.
34. This Agreement constitutes the entire agreement of the parties afd shall
not be changed, altered or modified except in a writing signed by dll of the
parties.
35. The Parties agree that facimilie copies of this Agreement may/be

executed and serve as original signatures.

WHEREFORE, the parties hereto agree to all provisions contained hereit:

 

 

The City of Hallandale Beach The Set Enterprises, Inc.

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By: Mark A. Goldstein, Esquire By: Jose R, Rodriguez, Presiderit
as Authorized Agent

The Set Enterprises, Inc.,

{
By: Rodney Kimbrough, Individually

The Set Enterprises, Inc.

 

By: Greg Jarmon, Individually

SAWPDOCS\Aodriguez, joe\Tne Set Enterprises\FEDERAL ACTIONJARGON\PLEADINGS \Final Interim Litigation Agnéement.wnd

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MODIFICATION OF INTERIM LITIGATION AGREEMENT

Modification of a certain INTERIM LITIGATION AGREEMENT is made this is
day CEE by and between THE SET ENTERPRISES, INC., (“THE SET”); GREG
JARMON, (“JARMON”); and RODNEY KIMBROUGH (“KIMBROUGH”); (hereinafter
referred to collectively as “THE SET”); and THE CITY OF HALLANDALE BEACH,
(“CITY”); collectively hereinafter referred to as “The Parties”.

WITNESSETH:

WHEREAS, the parties have previously entered into a Litigation Settlement Agreement,
which was approved by the City of Hallandale Beach City Commission on March 5, 2002,
(“Settlement Agreement’’); and

WHEREAS, the parties are desirous of modifying the specific paragraphs of said
Settlement Agreement which relate to the specific hours of operation on specific designated
days, as well as an increase in the monthly regulatory payment to the City; and

WHEREAS, on June 17, 2003, the City Commission, approved an amendment and
modification to the said Settlement Agreement, pursuant to Agenda Item CAD-#14/02; and

WHEREAS, the parties are desirous of amending and modifying only the specific
provisions set forth herein and all other terms and conditions of the said Settlement Agreement
shall remain in full force and effect.

NOW THEREFORE, in consideration of $10.00 and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the undersigned
parties specifically agree and stipulate as follows:

1. That paragraph 10 of the said Settlement Agreement shall be modified to reflect

that THE SET shall be licensed to operate until 6:00 a.m. on Friday and Saturday nights,
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commencing June 27, 2003, and the following holidays throughout.the year, where there would
be no school the day after the said late closing holiday. (For example: New Year’s Eve: if New
Year’s Eve fell on a week day, there is no school on New Year’s Day); and specifically:

New Year’s Eve

Memorial Day Eve

July Fourth Eve

Labor Day Eve

Thanksgiving Day Eve

Thanksgiving Day

Christmas Eve .

Furthermore, the Settlement Agreement designates off-duty police details for each day
THE SET is open and by this Agreement shall include additional police details on Fridays,
Saturdays, and holidays through closing.

2. That paragraph 14 of the said Settlement Agreement shall be amended to reflect
that effective July 2003; THE SET’s monthly regulatory fee shall be increased by an additional
$500.00 per month, for a total of $30,000.00 per year.

3. That all other terms and conditions set forth in the original Settlement Agreement

shall remain unmodified and shall remain in full force and effect.

WHEREFORE, the parties hereto agree to all provisions contained herein:

   
 

The City of Hallandale Beach c. by

Kimbrough . =
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By: D. Mike Good By: ra. Marcus, Esq.
City Manager Authorized Agent, Attorney for Plaintiffs
